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Attorneys for Defendants
Walt Disney Parl<S and Resorts U.S., Inc.,
Walt Disney Parks & Resorts Worldwide

and The Walt Disnay Company

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIF()RNIA

CARI SHIELDS and AMBER BOGGS,
011 behalf of themselves and all others
Similarly Situate_d,

Plaintiffs,
vs.

WALT DISNEY PARKS AND
RESORTS US, INC., WALT DISNEY
PARKS AND RESORTS
WORLDWIDE, INC., TI-IE WALT
DISNEY COMPANY, DOES 1-100,
INCLUSIVE

Defendants.

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_ Case No.

 

 

 

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NOTICE ()F REMOVAL OF STATE
COURT ACTION UNDER 28 U.S.C.

%%;1331, 1441}|§) AND 1446 BY

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]E`;LOS An eles Superior Court Case No.
C43 82 1] .

BVM) 5310

 

 

NOTICE OF REMOVAL OF STATE COURT
ACTION BY DEFENDANTS

 

 

 

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10880 Wilshire Bivd, Eleventh ?Ioor

Los Angeles, California 90024

Case 2:10-cv-05810-DMG-FMO Document 1 Filed 08/05/10_ Page 2 of 46 Page |D #:7

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TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO
PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that defendants Walt Disney Parks_ and Resorts
U.S., inc., Walt Disney Parks &; Resorts Worldwide and The Walt Disney Cornpany
(collectively, “Defendants”) hereby invoke this Court’s jurisdiction and remove the
state court action described below from the Superior Court of the State of California
for the County oi" Los Angeles to the United States District Couit for the Central
District of California.

i. This Notice of Removal is filed pursuant to, and this Court has
jurisdiction by virtue of, the provisions of 28 U.S.C. §§ 1331, 1369, 144l(b) and
1446

2. On May 21, 2010, plaintiffs Cari Shields and Amber Boggs
(“Plaintift`s”) commenced an action in the Superior Court of the State of Calit`ornia
for the County of Los Angeles entitled Cari Shz`elds and Amber Boggs v. Walt
Disney Park_s and Resorts US, Inc., Walt Disney Par'ks & Resorts I'Vorla’t»i)z'a'eJ Inc.,
The Walt Disney Company, and Does 1 through ]OU, inclusive, Los Angeles
Superior Court Case No. BC488241 (the “State Court Action”).

3. Defendants Were served in the State Court Action on July 7, 2010,
including With a copy of the Sumrnons, Complaint and related documents (the
“Cornplaint”). A true and correct copy of the Cornplaint is attached as Exhibit A to
this Notice.

l 4. To Defendants’ knowiedge, the documents attached as Exhibit A to this
Notice are the only pleadings that have been served on, or filed by, Dei:`endants to
date in the State Court Action.`

5. This is a civil action over which this Court has original subject matter
jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1369, and is one Which may be
removed to this Court pursuant to the provisions of 28 U.S.C. § l441(b), in that

original jurisdiction is founded on a claim or right arising under a law of the United

 

 

2 NOTICE OF REMOVAL OF STATE COURT
ACTION BY DEFENDANTS

 

ElsENsERG RAIZMAN THuRs'roN & WONG LLP

 

10880 Wilshirc Bivd, Eleventh Floor

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Case 2:10-cv-05810-D|\/|(_3-F|\/|O Document 1 Filed 08/05/10 Page 3 of 46 Page |D #:8

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States, i.e., the Americans With Disabilities Act (42 U.S.C. §§ 12i01 er seq.) (the
“ADA”). (See Cornplaint 1111 56-61.)

6. This Notice of Rernoval is timely filed pursuant to 28 U.S.C. § 1446(b)
in that it is filed Within thirty (3 0) days of receipt of the Complaint by any
defendantl The date on which Defendants Were served Was July 7, 2010.

7. _ The territorial coverage of the United States District Court for the
Central District of California embraces the county and court in Which the State
Court Action is now pending. 28 U.S.C. § 84(c). Therefore, this action is properly
removed to this Court pursuant to 28 U.S.C. § 1441(a).

8. This removal is authorized by each of the Defendants, the sole named
defendants in this action. Defendants are informed and believe, and on that basis
allege, that none of the Doe defendants in the State Court Action have been named
or served. Therefore, it is unnecessary to obtain any other defendant’s consent to or
joinder in this removal.

9. As required by 28 U.S.C. § 1446(d), Defendants will provide Written
notice of the filing of this Notice of Rernoval to all other parties to this action and
Will promptly file a copy of this Notice of Removal With the Clerl< of the Superior
Court of the State of California for the County of Los Angeles.

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3 NOTICE OF REMOVAL OF STATE COURT
ACTION BY DEFENDANTS

 

ElsENBERG RA1sz ’I`HURSTON & WoNG LLP

10880 Wilshire Blvd1 Eievcnth Floor
Los Angeies, Califomia 90024

Case 2:10-cv-05810-D|\/|(_3-F|\/|O Document 1 Filed 08/05/10 Page 4 of 46 Page |D #:9
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WHEREFORE, pursuant to 28 U.S.C. §§ 1331, 1441(b) and 1446,

Defendants hereby remove this action from the Superior Court of the State of

California for the County of Los Angeles to the United States District Court for the

Central District of California.

Date: August 4, 2010

Respectfully submitted,

EISENBERG RAIZMAN THURsroN & WoNG LLP
David H. Raizman

 

Elena S. Min
BY¢ ME/MMU~
Elena S. Min

Attorneys for Defendants

Walt Disney Parl<s and Resorts U.S., lnc.,
Walt Disney Parks & Resorts Worldwide
and The Walt Disney Company

 

 

4 NOTICE OF REMOVAL OF STATE COURT
ACTION BY DEFENDANTS

 

Case 2:10-cv-05810-D|\/|G-F|\/|O Document 1 Filed 08/05/10 Page 5 of 46 Page |D #:10

EXHIBIT A

 

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Fax: 310~3?6-3531

A. Anderson B Dogali_, Esq. ., J\ 0
(P)o Hac Vice applications to be filed)

Brian A. Hohman, Esq.,

(Pro Hac Vlce applicanst to be filed)

FORIZS &, DOGALI, P. A.

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Tampa, Florida 33634

Tel: 813-289-0700

Fax: 813-289-9435

Attorneys for Plaintiffs and Class Plaintiffs
SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES

CARI SHIELDS and AMBER BOGGS, g

011 behalf of themselves and all others mass Action

 

EXHIBIT A PAGE 5

 

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CaseNo. BC‘@;% 8%4'1

similarly situated,
Plaintiffs COMPLAINT FOR DECLARAT()RY
’ AND INJUNCTIVE RELIEF FOR
) VIOLATIONS OF:
V_ ) 1. VIOLATIONS OF THE
) AMERICANS WITH
) DISABILITIES ACT (42 U.S.C.
§12131, et seq.)
WALT DISNEY PARKS AND RESORTS )
US, INC., WALT DISNE_Y PARKS & ) 2. VIOLATIONS OF THE
RBSORTS WORLD“’IDB, INC., THE ) UNRUH ACT (Cal. Civil Code
WALT DISNEY COMPANY, ) §51, et seq.)
DOES 1-100, )
INCLUSIVE, ) 3. VIOLATIONS OF ’I`HE CDPA
) (Cal. Civi} Cede §54.1, et seq.)
Defendants. g

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CLASS ACTION C()MPLAIN'I`

COME NOW the Plainti ffs, CAR] SH]ELDS and AMBERBOGGS, on their own behalf and
on behalf of all others similarly situated (Collectiveiy known as “PLAINTIFFS” , and sue the
Defendants, THE WALT DISNEY COMPANY, WAL'I` DISNEY PARKS & RESORTS
WORLDWIDE, INC. and WALTDISNEYPARKS AND RESORTS US, l.NC. (Coliectiveiy loiown
as “DEFENDANTS”) and aiiege: n

INTRODUCTION
1. This action arises out of discriminatory practices by DEFENDANTS violating Caiifornia

statutes and common law, as well as federal law designed to protect individuals with a

disability
2. 'Ihesc practices inciude, inter alia, the denial of access to places of public accommodation

and the discriminatory treatment given to individuals because of their physical disabilities
3. As a result of these practices, the PLA]NTIFF CLASSES were not able to benefit from the
full usc and enjoyment of DEFENDANTS’ recreation facilities and theme parks and were

discriminated against on account of physical disability, i.e. visual impairment

JURISDIC'I`ION AND VENUE
4. This Court has jurisdiction over this action pursuant to Caiit`ornia Code of Civii Procedure
§410.10. The action is brought pursuant to Calif`oi'nia Code of Civil Procedure §382,
Calif`ornia Civil Code §1781 et seq. and theprocedural provisions oi`Rule 23 of the Federal
Ruies of Civil Procedure.
5. Plaintitfs bring this action on their own behalf and on behalf of all persons within the
PLAINTIFF CLASSES defined herein.
'l`his action is brought by the PLAINT[FFS to enforce the Title ill of the Americans with
Disabilities Act “ADA”, 42 U.S.C. §12131, et seq., the Unruh Civil Rights Act, California
Civil Code §5 1, et seq., and the Caiifornia Disabled Persons Act, California Civil Code §54

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EXHIBIT A PAGE 6

 

 

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CaSe 2:10-cv-05810-D|\/|G_-F|\/|O Document 1 Filed 08/05/10 Page 8 of 46 Page |D #:13

   

1 et seq. (CDPA).
2 7, Venue is proper in this Court pursuant to California Code of Civii Procedure §§395 and
3 395.5 because DEFENDANTS maintains corporate managerial business offices within the
4 County of Los Angeles.
5 PARTIES
6 PLAINTIFFS
7 8. Plaintiff Amber Boggs is an individual who, at all relevant times herein mentioned:
8 a. Was a resident of the County of Los Angeles, State of Calit`ornia;
9 b. Hadaphysical disability that affects herneuroiogical and!or special sense organs and
10 substantially limits major life activities, namely visual impairment
11 c Was a person with a disability as that term is defined in 42 U.S.C. §12102 and the
12 California Government Code Section i2926;
13 d 0wns year long passes to Disneyland and has regularly patronized the park facilities
14 operated by DEFENDANTS within the last two years;
15 e Has visited Disneyland with her service animal;
16 f Suffered discrimination by the DEPENDANTS;
17 g Was a member of all PLAINTIFF CLASSES alleged in paragraph 18 except
18 PLAlNTlFF DISNEY CHARACTER CLASS;
19 h Intends to visit DEFENDANTS’ theme parks in California andfor Flcn'da in the
20 future.
21 9 Plaintiff Cari Shields is an individual who, at all relevant times herein mentioned:
22 a. Was a resident of the County of Riverside, State of California;
23 b. Had a physical disability that affects herneurclcgicai and!or special sense organs and
24 ij substantially limits major life activities, namely visual impairment;
25 §§ e. Was a person with a disability as that term is defined in 42 U.S.C. §12102 and the
26 §" california consumer code §12926;
27 ii
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EXHIBIT A PAGE 7

 

 

 

Case 2:10-cv-05810-D|\/|GjF|\/|O Document 1 Filed 08/05/10 Page 9 of 46 Page |D #:14

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Owns year-long passes to Disneyland and has regularly patronized the park facilities
operated by DEFENDANTS in both Florida and California within the last two years;
Has visited Disneyland in Calii`ornia and Disney World in Florida with her service
animal including on or about November 1, 2009. Ms. Shields reserved seating for
6:45 p.m. for the Character Dining at the Crystal Palace with “Winnie Pooh and
Friends”at Walt Disney World Resort in Orlando, Florida.

She was denied interaction with costumed Disney characters as part of her dining
experience Upon complaining to management and staff she was told by two cast
members that it was Disney policy that characters were not allowed to interact with
guests with service animals because of their service animalsl She then went to guest-
services in the Magic Kingdom to which she was told by two more cast members that
it was DEFENDANTS policy that characters were not allowed to interact with guests
with service animals because of their service animals

Suffered discrimination by the Defendants;

Was a member of all PLAINTIFF CLASSES alleged in paragraph IS;

lntends to visit Defendants’ theme parks in California and!or Florida in the future

DEFENDANTS
Defendant WALT DISNEY PARKS AND RESORTS, U.S. INC. (“PARKS”) is a Florida

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corporation which at all times herein mentioned:

a.

Maintained its principal place of business in Orange County, Florida and is
authorized to conduct business in the State of California and is conducting business
in Los Angeles County in the City of Burbank.

PARKS owns and operates and!or is the lessor or lessee of the Walt Disney World
Resort located in Orange and Osccola Counties in Florida. The Walt Disney World
Resort is comprised of theme parks, hotels, restaurants, and shops, each of which are

public accommodations PARKS also owns and operates and!or isthe lessor or lessee

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ofthe DisneylandfCalit`ortda Adventure in Anabeim, Orange County, Calit`omia. The
Disneylandealifornia Adventure is similarly comprised of theme parks, hotels,
restaurants, and shops, each of which are public accommodations

Discriminated against the PLAINTIFF CLASS by, inter alia:

Maintaining a policy of refusing to allow costumed Disney characters to interact with
visually impaired patrons with service animals at the theme parks at Walt Disney
World Resort in Florlda and Disneyland in Calii`crnia.

Failing to provide Braille si gnage and/or large print within the aforementioned theme
parks so as to orient visually impaired patrons as to the location of rides, restaurants
and facilities;

(l) Failing to provide schedules and means in accessible alternative formats such as
Braille and/or fargo print; (2) Failing to provide Braille maps in a mobile format; and
(3) Failing to provide Braille maps in a reasonable number of locations within the
theme parks;

Providing auxiliary aids and scrvices, specifically, audio description devices which
are designed to shut off automatically after a given time interval but cannot be re-set
by a visually impaired user so as to render the device inaccessible;

Failing to provide reasonable accommodations to visually impaired patrons using
service animals by: (1) failing to provide reasonable designated areas within the
theme parks for service animals to dcfecate and (2) charging visually impaired
patrons using service animals a$20.00 fee for the use of kennel facilitics; (3) locating
the kennel facilities outside of the park; and (4) refusing to allow service animals to
be tied to any locations within the park while the visually impaired owner is using
park rides.

Failing to provide reasonable accommodations to visually impaired patrons by

simultaneously refusing to provide a Disney employee to assist a visually impaired

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t patron and also requiring visually impaired patrons to pay full price for a ticket for E
2 an aide or attendant to serve the function of assisting the patron in navigating around
3 the park.
4 j. By maintaining a policy at parades, such as the Main Street Electric Parade, that only
5 wheelchair users are allowed to use the area designated for handicapped guests and §
6 not guests with other disabilities such as visual impairments
7 k. Renting lockers to park visitors which are inaccessible to persons with visual
8 impairments because the lockers: l) utilize an inaccessible touch screen; 2) have no
9 attendant to assist the visually impaired and 3) provide only a printed receipt with the
10 combination to open the rented locker.
l l ll. THE WALT DISNEY COMPANY (“WDC”) is a Delaware corporation which at
12 all times herein mentioned:
13 a. Maintained its principal place of business in the City of Burbank, Connty of Los
14 Angeles, State of California;
15 b Along with Defendant PARKS and WORLDWIDB owns and operates andlor is the ,
16 lessor or lessee of the Walt Disney World Resort located in Orange and Osceola ,
17 Counties in Fiorida. The Walt Disney World Resort is comprised of theme parks, l
1 8 hotels, restaurants, and shops, each of which are public accommodations WDC also
19 owns and operates and/or is the lessor or lessee ofDisneyland!Callfcrnia Adventure
20 in Anaheim, Orange County, California. Disneyland!Calit`omia Adventure is
21 similarly comprised of theme parks, hotels, restaurants, and shops, each of which are
22 public accommodations
23 c Discriminated against the PLAINT]I"F CLASS by, inter alia:
24 §§ d Maintaining a policy of refusingto allow costumed Disney characters to interact with
25 :i visually impaired patrons with service animals at the theme parks attire Walt Disney l
26 .: World Resort in Florida and Disneyland!Califomia Adventure in California.
27 ii
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EXHIBIT A PAGE 10

 

 

 

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1 e. Failing to provide Braille signage and/orlarge ptintwithin the aforementioned theme
2 parks so as to orient visually impaired patrons as to the location ofrides, restaurants
3 and facilities;
4 t`. (1) Failing to provide schedules and menus in accessible alternative formats such as
5 Brai]le and!or large print; (2) Failing to provide Braille maps in a mobile format; and
6 (3) Failing to provide Braille maps in a reasonable number of locations within the
7 theme parks;
8 g, Providing auxiliary aids and services, specifically, audio description devices which
9 are designed to shut off automatically after a given time interval but cannot be re-set
10 by a visually impaired user so as to render the device inaccessible;
ll h Failing to provide reasonable accommodations to visually impaired patrons using
12 service animals by: (l) failing to provide reasonable designated areas within the
13 theme parks for service animals to defecate and (2) charging visually impaired
14 patrons using service animals a $20.00 fee for the use of kennel facilities and (3)
15 locating the kennel facilities outside of the park; and (4) refusing to allow service
16 animals to be tied to any locations within the park while the visually impaired owner
l'? is using park rides.
18 1 F ailing to provide reasonable accommodations to visually impaired patrons by
19 simultaneously refusing to provide a Disney employee to assist a visually impaired
20 patron and also requiring visually impaired patrons to pay full price for a ticket for
21 an aide or attendant to serve the function of assisting the patron in navigating around
22 the park.
23 j By maintaining a policy at parades, such as the Main Street Electric Parade, that only
24 wheelchair users are allowed to use the area designated for handicapped guests and
25 :i not guests with other disabilities such as visual impairments
26 :‘ k. Renting lockers for use to guests which are inaccessible to persons with visual
27 §i
28 7
EXHIBIT A PAGE 11

 

 

 

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l impairments because the lockers: l) utilize an inaccessible touch screen; 2) have no
2 attendant to assist the visually impaired and 3) provide only a printed receipt with the

3 combination to open the rented locker.

4 12. WALT DISNEY PA_RKS & RESORTS WORLDWIDB, INC. (“WORLDWIDE”) is a

5 Califomia corporation which at all times herein mcntioned:

6 a. Maintained its principal place of business in the City of Burbank, County of Los

7 Angeles, State of California;

8 b. Along with Defendants WDC and PARKS, WORLDWIDE owns and operates

9 and!or is the lessor or lessee of the Walt Disney World Resort located in Orange and
10 Osceola Counties in Florida. The Walt Disney World Resort is comprised of theme
ll parks, hotels, restaurants, and shops, each of which are public accommodations
12 WDC also owns and operates and/or is the lessor or lessee of the Disneyland
13 Resort/Califomia Adventure in Anaheim, California. 'I`he Disneyland Resort is
14 similarly comprised of theme parks, hoteis, restaurants and shops, each of which are
15 public accommodations

16 c Discriminated against the Plaintift` Classes by, inter aita:
17 d Maintainingapolicy ot` refusing to allow costtnned Disney characteristic interact with
18 visually impaired patrons with service animals at its theme parks at Disney World in
19 Florida and Disney Land in Calit`ornia;
20 e Failing to provide Braille signage and!orlarge print within the aforementioned theme
21 parks so as to orient visually impaired patrons as to the location ot`rides, restaurants
22 and facilities;
23 f (l) Failing to provide schedules and menus in accessible alternative formats such as
24 Braille and/or large pn'nt; (2) Failing to provide Braille maps in a mobile format and
25 §’. (3) Faiiing to provide Braille maps at a variety of locations within the theme parlrs;
26 §§ g Providing auxiliary aids and services, specitically, audio descriptioidevices which
27 §1:
28 8

EXHIBIT A PAGE 12

 

 

 

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l are designed to shut off automatically after a given time interval but can not be re-set
2 by a visually impaired user so as to render the device inaccessible;
3 h. Failing to provide reasonable accommodations to visually impaired patrons using
4 service animals by: (1) failing to provide reasonable designated areas within the
5 theme parks for service animals to defecate; (2) charging visually impaired patrons
6 using service animals a $20.00 fee for the use of kennel facilities and (3) locating the
7 kennel facilities outside of the park; and (4) refusing to allow service animals to be
8 tied to any locations within the park while the visually impaired owner is using park
9 rides.
10 1 Failing to provide reasonable accommodations to visually impaired patrons by
ll simultaneously refusing to provide a Disney employee to assist a visually impaired
12 patron and also requiring visually impaired patrons to pay full price for a ticket for
13 an aide or attendant to serve the function of assisting the patron in navigating around
14 the park.
l 5 j By maintaining a policy at parades, such as the Main Street Electric Parade, that only
16 wheelchair users are allowed to use the area designated for handicapped guests and
17 not guests with other disabilities such as visual impairments
18 k Renting lockers for use to guests which are inaccessible to persons with visual
19 impairments because the lockers: l) utilize an inaccessible touch screen; 2) have no
20 attendant to assist the visually impaired and 3) provide only a printed receipt with the
21 combination to open the rented locker.
22 13 'I`he true names and capacities, whether individual, corporate, partnership, associate or
23 otherwise of Defendants Does 1-100, inclusive, are unknown to the PLAINTIFFS who
24 :§ therefore sue these DEFENDANTS by such fictitious names pursuant to Calit`ornia Code of
25 §§ Civil Procedure Section 474. PLAINTIFFS will seek leave to amend this Complaint to
26 §§ allege the true names and capacities of Does l through 100, inclusive, when they are
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EXHIBIT A PAGE 13

 

 

 

 

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ascertained
PLAINTIFFS are informed and believe, and based upon that information and belief allege,
that each of the DEFENDANTS named in this Cornplaint, including Does l through 100,
inclusive, are responsible in some manner for one or more of the events and happenings that
proximately caused the injuries and damages hereinafter allegcd.
PLAIN'FIFFS are informed and believe, and based upon that information and belief ailege,
that each of the DBFENDANTS named in this Complaint, including Does 1 through 100,
inclusive, acted in concert with respect to the acts and omissions alleged hereinafter and to
all appearances, DEFENDANTS and each of them, represented a united body so that the
actions of one DEFENDANT were accomplished in concert with, and with knowledge
ratification authorization and approval of each of the other DEFENDANTS.
PLAINTIFFS arc informed and believe, and based open that information and belief allege,
that each of the DEFENDANTS named in this complaint, including Does 1 through 10{),
inclusive, is and at all times mentioned herein was, the agent, servant and/or employee of
each of the other DEFENDANTS and that each DEFENDANT was acting within the course
and scope of his, her or its authority ss the agent, servant and!or employee of each of the
other DBFENDANTS. Consequently, all of the DEFENDANTS are jointly and severally
liable to the Plaintif‘r`s for the damages sustained as a proximate result of their conduct
At all times set forth herein, the acts and omissions of each Defendant caused, led andfor
contributed to the various acts and omissions of each and all ofthe other DEFENDANTS,
legally causing PLAINTIFFS’ injuries and damages as set forth.

CLASS REPRESENTATI{)N ALLEGA'I`IONS

 

Definition of the Alleged Class
This action consists of the following PLAINTIFF CLASSES who are residents of the United
States:
a. PLAINTIFF DISNEY CHARACTER CLASS: All visually impaired individuals

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l considered to have a physical disability, as that term is defined in 42 U.S.C. § i2i 02
2 and California Government Code Section 12926, who were customers of the theme
3 parks at Disneyland/California Adventure in California or Walt Disney Worid Resort
4 in Florida and were denied interaction and equal treatment by Disney employees
5 dressed as Disney characters
6 b PLAINTIFF SIGNAGE CLASS: Ail visually impaired individuals considered to
7 have a physical disability, as that term is dehned in 42 U.S.C. §12102 and Caiifornia
8 Government Code Section 12926 who have not been provided signage, menus or
9 schedules in an alternative fonnat, such as Brailie andfor large print, at
10 DisneyiandfCalifomia Adventure in California or Walt Disney World Resort in
ll Fiorida.
12 c PLAINTIFF MAP CLASS: Ali visually impaired individuals considered to have
13 a physical disability, as that term is defined in 42 U.S.C. §12102 and California
14 Govemrnent Code Section 12926 who have not been provided maps inan alternative
i$ format, such as Braille andfor large print, at Disneyland/Caiifornia Adventure in
16 Calii`ornia or Walt Disney World Resort in Florida.
l'} d PLAINTIFF KENNEL CLASS: All visually impaired individuals considered to
18 have a physical disabiiily, as that term is defined in 42 U.S.C. §12102 and California
19 Government Code Section 12926 who have either (l) paid a fee for the use of a
20 kennel for his/her service animal at DisneylandfCalifornia Adventure in Caiifornia
21 or Walt Disney World Rescrt in Florida', or
22 (2) were deterred from visiting Disneyland!Caiifornia Adventure in California or
23 Walt Disney World Resort in Florida on account of the kennel fee for his/her service
24 §§ animal
25 §j e. PLAINTIFF AUDIO DESCRIPTION DEVICE CLASS: All visually impaired
26 ii individuals considered to have a physical disability, as that term is defined in 42
27 ii
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l U.S.C. §12102 and California Governnient Code Section 12926 who have used or '
2 attempted to use an audio description device at Disneyland!€alifomia Adventure in
3 Calii`ornia or Walt Disney World Resort in Floiida and been deprived ofthe full use
4 and enjoyment of the device.
5 f. PLAINTIFF COMPANION TICKET CLASS: All visually impaired individuals
6 considered to have a physical disability, as that term is defined in 42 U.S.C. §12102
7 and California Government Code Section 12926 who have paid for an additional
8 ticket for a companion or aide to assist the visually impaired individual to utilize the
9 accommodations at Disneyland!California Adventure in California or Walt Disney
10 World Resort in Florida.
11 g PLAINTIFF PARADE CLASS: All visually impaired individuals considered to
12 have a physical disability, as that term is defined in 42 U.S.C. § 12102 and California
13 Government Code Section 12926 who, have experienced discrimination due to |
14 DEFBNDANTS’ policy of excluding persons with disabilitiesJ other than wheelchair §
15 users, from preferential locations to stand or sit during the parade at
l6 Disneyland/California Adventure in California or Walt Disney World Resort in
17 Florida.
18 h PLAINTIFF LOCKER CLASS: All visually impaired individuals considered
19 to have a physical disability, as that tenn is defined in 42 U.S.C. §12102 and
20 California Govermnent Code Seetion 12926 who have been unable to utilize a
21 locker at Disneyland/California Adventure in Calil`ontia or Walt Disney World
22 Resort in Florida.
23 Maintenancc of the Action
24 1521 PLAH‘JTIFFS bring this action individually and on behalf of themselves and as
25 §§ representatives of all similarly situated persons, pursuant to Calit`omia Code of Civil ii
26 Procedure Section 382, and the provisions of Rule 23 of the Federal Rules of Civil §
27 tit '
28 12 ;
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l Procedure.

2 Class Action Reqnisites

3 20. At all material times, PLAINTIFF SHIELDS was and is a member of ali PLAINTLFF

4 CLASSES described in paragraph 18. At all material times, PLAINTIFF BOGGS was and

5 is a member of all PLAH\lTIFF CLASSES described in paragraph 18 except PLAINTIFF

6 DlSNEY CHARACTER CLASS.

7 21 . This Class Action meets the statutory prerequisites for the maintenance of a Class Action as

8 set forth in California Code of Civil Procedure Section 382, and the provisions ofRule 23

9 of the Fedcral Rules of Civil Procedure in that:
10 a. ln 2008, the Social Security Administration estimated there were in excess of 6.3
ll million persons visually impaired and over the age of 18 in the United States.
12 According to the Disney Vacation Tips website, the daily attendance at Disneyland
13 in Anaheim is 4,000. Additionally, according to the Themed Entertainment
l4 AssooiationfEconomic Research Associates Attraction Attendance Report 2008, the
l 5 Magic KingdornfDisney World Resort in Floridahad over l? million visitors in 2008
16 while DisneylandfCalifomia Adventure had over 14 million visitors in 2008. While
17 the number of visitors with visual impairments cannot be precisely calculated, it is
18 reasonable to estimate that thousands of visitors were visually impaired among the
1 9 14 million who visited Disneyland inAnaheint in 2008.As such, the class ofqualified
20 individuals who are visually impaired and have visited§either Disneyland/Califomia
21 Adventure in Ca]ifornia and/or Walt Disney World Resort in Florida is so numerous
22 that joinder of all members is impracticable
23 b Nearly all factual, legal, statutory, declaratory and injunctive relief issues that are
24 §§ raised in this Complaint are common to the PLA]NTIFF CLASSES and will apply
25 §j uniformly to each member of the PLAINTIFF CLASSES. There are questions of law
26 53 and fact common to the class The Unruh Civil Rights Act and Californla Public
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Accorrunodations law requires that public accommodations, such as the ones
operated by DEFENDANTS, be accessible to persons with disabilities, which is a
question of law common to all members ofthe class. The failure ot"DEFENDANTS
to provide accommodations and remove policies that discriminate against persons
with disabilities presents a question of fact common to all members of the class
Furthcrmore, the primary relief that the class is seeking is equitable in nature, in that
the class is asking for final injunctive relief asking that Defendants provide
accommodations and discontinue discriminating policies in their theme parks,
restaurants hotels, and other facilities it operates Furthennore, prosecutions of
separate actions would create the risk of inconsistent or varying adjudications with
respect to individual members of the class which would establish incompatible
standards of conduct for the DEFENDANTS.

The claims ofSHiELDS andBOGGS aretypical of the claims of the class of persons
with disabilities that sustained and continue to sustain injuries arising out of the
DEFBNDANTS’ conduct or omissions in violation of state and federal law as
complained of herein. PLAINTIFFS, like ali other members of the Class, claim that
DEFENDANTS have violated the ADA and California Statutes by discriminating
against persons with disabilities and excluding the PLA]NT]PFS, and other similarly
situated persons, from full and equal enjoyment of the goods, services, programs,
facilities, privileges, advantages, or accommodations of DEFENDANTS theme
parks, restaurants, hotels, and other facilities it operates; and snbj ectiugPLAlNTlFFS
to discrimination by denying, segregated or excluding visually impaired guests from
enjoying their facilities and other goods, services, prograrns, privileges, advantages
or accommodations to the PLAINTIEFS, as well as other similarly situated persons
SHIELDS and BOGGS Will fairly and adequately protect the interests of the Class,

and have retained counsel competent and experienced in class action litigation

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1 PLAINTIFFS have no interests antagonistic to, or in conflict With, those ofthe Class.
2 Counsel for the Classes will vigorously assert the claims of all Ciass Members.
3 e. Moreover, judicial economy will be served by the maintenance of this lawsuit as a
4 class aetion, in that it is likely to avoid the burden which would be otherwise placed
5 upon thejudieial system by the filing of thousands of similar suits by disabled people
6 across the country
7 f. Class Actlon treatment of these claims will avoid the risk of inconsistent or varying
8 adjudications with respect to individual members of the PLAINTIFF CLASSES
9 Wbich would establish incompatible standards ofconduct for the parties opposing the
10 PLAINTIFF CLAS SES. There are no obstacles to effective and efficient
ll management of this lawsuit as a class action.
12 g. The parties opposing the PLAINTIFF CLASSES have acted or refused to act on
13 grounds generaily applicable to the PLAINTIFF CLASSES, thereby making
14 appropriate final injunctive relief or corresponding declaratory relief with respect to
15 the PLAINTIFF CLASSES as a whoic; or
16 ii. Comrnon questions of law and fact exist as to the members of the PLAINTIFF
1? CLASSES and predominate over any questions affecting only individual members,
13 and a Class Action is superior to other available methods for the fair and efficient
19 adjudication of the controversy, including consideration of'.
20 i. The interests of the members of the PLAINUFF CLASSES in individually
21 controlling the prosecution or defense of separate actions;
22 ii. 'l`he extent and nature of any litigation concerning the controversy already
23 commenced by or against members of the PLAINTIFF CLASSES;
24 §§ iii. 'l'he desirability or undesirability of concentrating the litigation of the ciaims
25 §§ in the particular forum; and
26 :-i iv. The difficulties likely to be encountered in the management of a class aetion.
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22. This Court should permit this action to be maintained as a Class Action pursuant to

2 Califomia Code of Civil Procedure Section 382 because:
3 a. The questions of law and fact common to the PLAINTIFF CLASSES predominate
4 over any questions affecting only individual members;
5 b. A Class Action is superior to any other available method for the fair and efficient
6 adjudication of the claims of the members ofthe PLAINTIFF CLASSES;
7 c. PLAINTIFFS and the other members of the PLAINTIFF CLASSES will not be able
8 to obtain effective and economic legal redress unless the action is maintained as a
9 Class Action;
10 d There is a community of interest in obtaining appropriate legal and equitable relief
1 l for the common law and statutory violations and other improprieties, and in obtaining
12 adequate compensation for the damages and injuries which DEFENDANTS’ actions
13 have inflicted upon the PLAINTIFF CLASSES; and,
14 e There is a community of interest in ensuring that the combined assets and available
15 insurance of DEFENDANTS is sufficient to adequately compensate the members of
16 the PLAINTIFF CLASSES for the injuries sustained
17 23. PLAINTIFFS contemplate the eventual issuance of notice to the proposed Ciass Members
18 of each of the PLAINTIPF CLASSES which would set forth the subject and nature of the
19 instant action. The DEFENDANTS' own business records may be utilized for assistance in
20 the preparation and issuance of the contemplated notices. To the extent that any further
21 notices may be required, PLAINTIFFS would contemplate the use of additional media and/or
22 mass mailings
23 24. Among the many questions of law and fact common to the class arel:
24 §§ a. Whether the DEFENDANTS and its entities maintained a policy of refusing to allow
25 :’, costtnned Disney characters to interact with visually impaired patrons with service
26 §§ animals at DEFENDANTS theme parks and properties at the Walt Disney World
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1 Resort in Florida and DisneylandfCaiifornia Adventure in Culiform`a.
2 b. Whether the DEFENDAN'I`S and its entities failed to provide Braille signage and/or
3 large print within the theme parks so as to orient visually impaired patrons as to the
4 location of rides, restaurants and facilities;
5 c Whether the DEFENDANTS and its entities failed to provide schedules and menus
6 in accessible alternative formats such as Braille andfor large print;
7 d. Whether the DEFENDANTS failed to provide Braille maps in a portable format;
8 e. Whether DEFENDANTS failed to provide Braiiie maps at a reasonable number of
9 locations within the theme parks;
10 f Whether the audio description devices are reasonably accessible to the visually
11 impaired;
12 g Whether it was lawful for the DEFENDANTS to charge a $20 fee for the use of
13 kennel facilities at the park for service animals;
l4 h Whether the DEFENDANTS were legally required to have designated areas within
15 the theme parks for service animals to defecate or to be tied up while visually
16 impaired owners used the rides;
17 1 Whether DEFENDANTS are legally required to provide a free or discounted ticket
18 to the aid or companion of a visually impaired visitor to the theme parks as a
19 reasonable accommodation
20 3 Whether DEFBNDANTS and its entities maintained a policy at parades, such as the
21 Main Street Electric Parade, that only wheelchair users are allowed to use the area
22 designated for handicapped guests and not guests with other disabilities such as
23 visual impairments
24 ij k Whether it was lawhll for DEFENDANTS and its entities to rent lockers for use to
_ 25 § guests which are inaccessible to persons with visual impairments because the
26 :’ lockers: 1) utilize an inaccessible touch screen; 2) have no attendant to assist the
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visually impaired and 3) provide only a printed receipt with the combination to open
the rented locker.

l. Whether DEFENDANTS violated California Civil Code §51 et seq. in failing to
provide full and equal access to disabled persons with visually impairments

m. Whether DEFENDANTS violated Calit"ornia Civil Code §54 et seq. in failing to
provide hill and equal access to disabled persons with visual impairments

n. Whetlier DEFENDANTS violated the Arnericans with Disabiiities Aot in failing to
provide full and equal access to disabled persons with visual impairments

As to the issues raised in this case, a Class Action is superior to all other methods

for the fair and _eiiicient adjudication cf this controversy, since joinder of all class members is

impracticable Class members may be residents from anywhere in the country lt is essential that

many legal and factual questions be adjudicated uniformly to all class members Further, as the

economic or other loss suffered by vast numbers of class members may be relatively small, the

expense and burden of individual actions make it difficult for the class members to individually

redress the wrongs they have suffered

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Morecver, in the event disgorgement is ordered, a class action is the only mechanism that
will permit the employment of a fluid iimd recovery to insure that equity is achieved There
will be relatively little difficulty in managing this case as a Class Action.

The Class Action is superior to other available methods for a fair and efficient adjudication
ofthe claims presented by this complaint and would reduce the tinancial, administrative and
procedural burdens on the parties and on the Ccurt which individual action would otherwise
impose

TI-[E AMERICANS WITH DISABILITIES ACf]:
History & Purpose
In 1990, the United States Congress made findings regarding physically disabled persons,

finding that laws were needed to more fully protect “some 43 million Americans [with] one

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l or more physical or mental disabilities”; that “historically society has tended to isolate and
2 segregate individuals with disabilities”; and that “such forms of discrimination against
3 individuals with disabilities continue to be a serious and pervasive social problem”; that “the
4 Naticn’s proper goals regarding individuals with disabilities arc to assure equality ot'
5 cpportunity, full participation, independent living and economic self sufficiency for such
6 individuals”; and that “the continuingexistcnce ofunfairand unnecessary discrimination and
7 prejudice denies people with disabilities the opportunity to compete on an equal basis and
8 to pursue those opportunities for which our free society isjustiiiably famous....” 42 U.S.C.
9 §12101.
10 STATUTORY PROTECTION FOR I)ISABLED PERSONS
ll Public Accommcdaticns
12 29. Title ill of the ADA establishes the general rule that: [n]o individual shall be discriminated
13 against on the basis of disability in the full equal enjoyment of the goods, services, facilities,
14 privilegesa advantages or acccnunodations by any person who owns, leases, or operates a
15 place of public accommodation 42 U.S.C. §12182 (a).
16 30. The ADA goes on to define “discrilnination” to include: a failure to make reasonable
1'? modifications in policies, practices cr procedures when such modifications are necessary to
18 afford such goods, services, facilities, privileges advantages or accommodations to
19 individuals with disabilities, unless the entitycan demonstrate that making such modification
20 would fundamentally alter the nature of such goods, services, facilities, privileged
21 advantages or accommodations 42 U.S.C. §12182 (b)(2)(A)(ii).
22 31. ` The regulations promulgated by the United States Departrnent cf Justice provide:
23 l a Dem`al ofparticipation. A public accommodation shall not subject an individual or
24 §§ class of individuals on the basis of a disability or disabilities of such individual or
25 _ class, directly, or through contractual, licensing, or other arrangements, to a denial
26 ;” of the opportunity cf the individual or class to participate in or benefit from the
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l goods, services, facilities, privileges, advantages, or accommodations of a place of

2 public accommodation 28 C.F.R. §36.202(3)

3 b. Participation in unequal benefit A public accommodation shall not afford an

4 individual or class oflndividuals, on the basis of a disability or disabilities of such

5 individual or class, directiy, or through contractuai, licensing, or other arrangements

6 with the opportunity to participate in or benefit from a good, service, facility,

7 privilege, advantage, or accommodation that is not equal to that afforded to other

8 individuals 28 C.F.R. §36.202(!)).

9 c. Separate benefit A public accommodation shall not provide an individual or class
10 of individuals, on the basis of a disability or disabilities of such individual or class,
l 1 directly, or through contractual, licensiug, or other arrangements with a good., service,
12 facility, privilege, advantage, or accommodationthat is different or separate from that
13 provided to other individuals, unless such action is necessary to provide the
14 individual or class of individuals with a good, service, facility, privilege, advantage,
15 or accommodation or other opportunity that is as effective as that provided to others.
16 23 c,F.R. §36.202(¢).

17 32. Service animais. Generally, a public accommodation shall modify policies, practices, or

18 procedures to permit the use of a service animal byan individual with a disability 28 C.F.R.
I9 §36.302(c).

20 33. Additlonally, 42 U.S.C.A. § 1 2181 (6) defines private entity as “any entity other than a public
21 entity,.” and §12181 (7) Public accommodation states, in part: the following private entities
22 are considered public accommodations for purposes of this sub-chaptcr, if the operations of
23 such entities affect comrnerce:

24 §§ a. a restaurant, bar, or other establishment serving food or drink;

25 t:‘.' b. a motion picture house, theater, concert hall, stadium, or other place of exhibition
26 j entertainment

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l c. a park, zoo, amusement park, or other place of recreation;

2 34. Further, 42 U.S.C.A. §12182 (Prohibition of discrimination by public accommodations)

3 setes, in para the following `

4 a. General rule-No individual shall be discriminated against on the basis of disability

5 in the full and equal enjoyment of the goods, services, facilities, privileges,

6 advantages, or accommodations of any place ofpubl ic accommo dation by any person

? who ovms, leases (or leases to), or operates apiece of public accommodation

3 i. Speciiic prohibitions (in part)-

9 (l) Discriminatiou-For purposes of subsection (a) of this section,
10 discrimination includcs:
11 (a) a failure to make reasonable modifications in policies,
12 practices, or procedures, when such modifications are
13 necessary to afford such goods, services, facilities, privileges
14 advantages or accommodations to individuals with
15 disabilities, unless the entity can demonstrate that making
16 such modifications would fundamentally alter the nature of
17 such goods, scrvices, facilities, privileges, advantages, or
18 accommodations;
19 (b) a failure to take such steps as may be necessary to ensure that
20 no individual with a disability is excluded, denied services,
21 segregated or otherwise treated differently than other
22 individuals because of the absence of auxiliary aids and
23 services, unless the entity can demonstrate that taking such
24 §§ steps would fundamentally alter the nature of the good,
25 :§‘ service, facility, privilege, advantage or accommodation
26 ii being offered or would result in an undue burden.
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THE UNRUH CIVIL RIGHTS ACT

§51 of the Calit`omia Civil Code, “The Unruh Civil Rights” Act provides protection from
discrimination by all business establishments in Califomia, including housing and public
accommodationsl because of age, ancestry, color, disability, national origin, race, religion,
sex and sexual orientation

Specitically, §51 (b) provides that all persons within the jurisdiction ofthis State are free and
equal, and no matter what their sex, race, color, religion, ancestry, national origin, disability,
medical condition, marital status, or sexual orientation are entitled to the full and equal
accommodations advantages, facilities, privileges, or services in all business establishments
of every kind whatso ever.

Further, §51.5 provides that: (a) No business establishment of any kind whatsoever shall

discriminate against, boycott orblacklist, or refuse to buy from, contract with, sell to, or trade `

with any person in this state on account of any characteristic listed or defined in subdivision
(b) or (e) of §51, or of the person's partners, members, stockholders, directors, ofticers,
managers, superintendents, agents, employees, business associates, suppliers, or customers,
because the person is perceived to have one or more of those characteristics er because the
person is associated with a person who has, or is perceived to have, any of those
characteristics
Additionally, §51 (f) provides that a violation of the right of any individual under the
Americans with Disabilities Act shall also constitute a violation of this section
CALIFORNIA CIVIL CODE §§54 THROUGH 55.2
California Civil Code §54 (a) states that: lndividuals with disabilities or medical conditions
have the same right as the general public to the iilll and free use of the streets, highways,
sidewalks, walkways, public buildings, medical facilities, including hospitals, clinics, and
physicians offices, public facilities, and other public places.

Further, Callfo'mia Civil Code §54.1 (a) (1) states: lndividuals with disabilities shall be

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1 entitled to full and equal access, as other members of the general public, to acconunodations,
2 advantages, facilities, medical facilities, including hospitals, clinics, and physicians1 oti`rces, 1
3 and privileges ofall common carriers, airplanes, motor vehicles, railroad trains, motor buses, l
4 streetcars, boats, or any other public conveyances or modes of transportation (whether
5 private, public, franchised, licensed, contracted, or otherwise provided), telephone facilities,
6 adoption agencies, private schools, hotels, lodging places, places of public accommodation,
7 amusement, or resort, and other places to which the general public is invited, subject only l
8 to the conditions and limitations established by law, or state or federal regulation, and
9 applicable alike to all persons,
10 41. Additionally, §54 .l (a) (3) states that "Full and equal access," for purposes of this section in
1 1 its application to transportation means access that meets the standards ofTitlcs il and Ili of
12 the Americans with Disabilities Act of 1999 (Pu‘olic Law 101-336) and federal regulations
13 adopted pursuant thereto, except that, if the laws of this state prescribe higher standards, it
14 shall mean access that meets those higher standards
15 42. P`urther, §54.l (d) states that a violation of the right of an individual under the Americans
16 with Disabilities Act also constitutes a violation of this section, and nothing in this section
17 shall be construed to limit the access of any person in violation of that act.
, 18 43. Calit`ornia Civil Code §54.2 states: (a) Every individual with a disability has the right to be
19 accompanied by a guide dog, signal dog, or service dog, especially trained for the purpose,
20 in any of the places specified in Section 54.1 without being required to pay an extra charge
21 or security deposit for the guide dog, signal dog, or service dog. However, the individual
22 shall be liable for any damage done to the premises or facilities by his or her dog.
23 44. Finally, Califomia Civil Code §54.4 states: Ablind or otherwise visually impaired pedestrian
24 §,:_ shall have all ofthe rights and privileges conferred by law upon other persons in any of the
25 :`_‘ places, accommodations, or conveyances specified in Sections 54 and 54.1, notwithstanding
26 :=‘ the fact that the person is not carrying a predominantly white cane (with or without a red tip),
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l or using a guide dog. '
GENERAL ALLEGATIONS CGMMON TO ALL COUNTS

45. The DEFENDANTS collectively operate theme parks in Califomia and Flcrida which have
millions ot` visitors annuall},rv

46. PLAINTLFFS are visually impaired individuals who each own yearly passes to Disneyland
in Anaheim. Plaintift' SH[ELDS has also visited the Walt Disney World Resort in Florida.
Both PLAlNTiFFS utilize guide dogs to assist them on a daily basis.

47. DEFENDANTS theme parks are public accommodations and PLAINTIFFS visit these

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facilities with the expectation of being treated with the rights and dignities guaranteed them
10 by Califomia law. Due to their visual impairments and physical disabilities, however,
11 PLAINTIFFS have suffered consistent discrimination at the hands of DEFENDANTS and
12 its affiliated companies and employees

13 48. As a member of the Disney Character Class, PLAINTIFF SHIELDS was subjected to public

i4 humiliation and discrimination in being ignored at the restaurant, when an essential element
15 of the dining experience was the interaction with the costumed Disney Character. Two of
16 these characters articulated the restaurant policy of not interacting with patrons using service
17 animals Whether this policy is driven by malice, ignorance or simply fear, it is a violation
18 of California and federal law.

l9 49. As members of the Kennel Class, both PLAINTIFFS have been denied reasonable

20 accommodations for their service animals because in order to use the kennel at all they must
21 pay a $20.00 fee. Further:rnore, the kennel is located outside of the theme parks so as to be
22 extremely inconvenient when using the rides. Moreover, the policy of requiring that the
23 animal be with someone at all times means that a visually impaired visitor has no where to
24 '”~j leave the service animal while using certain rides. Universal Studios, a competing theme
25 § park, however, do not have such obstructions at its respective theme parks. Finally, there are
26 § no designated areas for the animal to relieve itself.

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As members of the Signage Class, both PLAINUFFS have been discriminated against due
to the lack of Braille signage, in addition to a lack of alternate communications for the
visually impaired such as Braille and/or large print with respect to schedules and menus.
As members of the Audio Description Dcvice Class, both PLAINTIFFS have been deterred
from fully utilizing this otherwise helpful technology due to adesign defect Once the device
shuts oifautomatically, a visually impaired user cannot re-set the device and must return to
the guest services department to have it re~set. n

As members of the Map Class, PLAINTIFFS have experienced discrimination based on the
fact that only one permanent Braille map is available at the theme parks in one location at
Guest Relations. No portable Braille maps are available

As members of the Companion Ticket Class, PLAINTIFFS have experienced discrimination
due to DBFENDANTS’ failure to provide the necessary accommodations for a visually
impaired individual to be oriented in the theme parks The lack of reasonable
accommodations in combination with the DEFENDANTS’ policy of not providing an
employee to assist a visually impaired person, forces a visually impaired person to bring and
pay tull price for a companion to fully utilize the park facilities Universal Studios, a
competingtheme park, however, allows the visually impaired guest in at no cost and requires
the companion to pay pull price.

As to members of the Parade Class, PLAlNTIFFS have experienced discrimination due to
DEFENDANTS maintaining a policy at parades, such as the Main Street Electric Parade, that
only wheelchair users are allowed to use the area designated for handicapped guests and not
guests with other disabilities such as visual impairments

AS to members of the Locker Class, PLAlNTfFF have experienced discrimination by
DEFBNDANTS renting lockers for use to guests which are inaccessible to persons with
visual impairments because the lockers: l) utilize an inaccessible touch screen; 2) have no

attendant to assist the visually impaired and 3) provide only a printed receipt with the

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combination to open the rented locker.
FIRST CAUSE OF ACTION
For a Violat'ion of the Americans with Disabilities Act
42 U.S.C. §12131, et, seq.
(by All Plaiutiffs and Against All Defendants)

The PLA]NTIFF CLASSES re~allege and incorporate by reference, as though fully set forth

hercin, paragraphs l through 55 of this Complaint.

DEFENDANTS have discriminated against PLA]NTIFFS by denying them full and equal

access to the benefits, privileges and public accommodations afforded to other patrons solely

on account of disability. ln addition, the DBFENDANTS have violated the ADA by failing
or refusing to provide PLAIN'I`IFFS with reasonable accommodations and other services
related to their disability

PLAINT£FFS are informed and believe and thereon allege that DEFENDANTS and their

employees and agents have failed and continue to:

a. Provide necessary acconunodations, modifications and services to provide equal
access to the facilities within its theme parks in Florida and California so as to allow
the visually impaired to participate on an equal basis in activities, rides, restaurants
and programs;

b, Provide the necessary training and discipline to its employees as to the legal
obligation of a public accommodation to provide full and equal service to persons
With disabilities under the ADA and other relevant state statutes, including California
Civil Code 51 et seq. and Civil Code Section 54 et seq.

PLAINTIFFS have been subjected to the denial, separate and unequal opportunity to

participate in the DEFENDANTS services, facilities, privileges, advantages, or

accommodations as a result of the DEFENDANTS discriminatory policy of not allowing

characters to interact with visually impaired persons who have their service animal with

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them.
As a direct and proximate result cf the aforementioned acts, PLAINTIFFS have suffered and
continue to suffer from the lack of character interaction due to DEFBNDANTS’ failure to
address the services, facilities, privileges, advantages or accommodations that should be
given to persons similarly situated as SHIELDS and BOGGS.
Due to the continuous nature of DEFBNDANTS’ discriminatory conduct, which is ongoing,
declaratory and injunctive reliefs are appropriate remedies Moreover, as a result of
DEFENDANTS’ actions PLAINTIFFS are suffering irreparable harm, and thus immediate
relief is appropriate PLAINTIFFS are entitled to reasonable attorneys’ fees and costs in
filing this action. 42 U.S.C.A. § 12205, as prayed below.
SECOND CAUSE OF ACTION
For a Violation of the Unruh Civil Rights Act
California Civil Code §51 and 52 et seq.
(by All Plaintiffs and Against Ail Defendants)
The PLAINTIFF CLASSES re-allege and incorporate by reference, as though fully set forth
herein, paragraphs 1 through 55 of this Complaint.
This claim is brought by the PLAINTIFF CLASSES, on behalf of themselves and on behalf
of the PLAINTIFF CLASSES thereof
§51 of the California Civil Code, “'I'he Unruh Civii Rights” Act provides protection from
discrimination by ail business establishments in Calit`ornia, including housing and public
aceommodations, because of age, ancestry, coior, disability, national origin, race, religion,
sex and sexual orientation
§52 of the California Civii Code provides that whoever denies, aids or incites a denial, or
makes any discrimination or distinction contrary to §51 is liable for each and every offense
Through the acts and omissions described herein, DEFENDANTS have violated Caiifornia
Civil Code §51.

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Pursuant to Califomia Civil Code §51 (t), avioiation of the ADA also constitutes a violation
of Califcrnia Civil Code §51 et seq.
The DEFENDANTS are a “business establishment” within the meaning of the California
Code §51 et seq.
DEFBNDANTS have violated the law by denying PLAINTJ.FFS full and equal access to its
program comparable to access that it offers to others
As a direct and proximate result of the aforementioned acts, PLAINTIFFS have sutI`ered, and
continue to suffer hardship and anxiety due to DEFENDANTS’ failures to address
acconunodations and access required for PLAB\iT[FFS’ disabilities
Due to the continuous nature ofDEFENDANTS’ discriminatory conduct, which is ongoing,
declaratory and injunctive reliefs are appropriate remediesl Moreover, as a result of
DEFENDANTS’ actions PLAIN‘I`IFFS are suffering irreparable hann, and thus innnediate
relief is appropriate PLAINTIFFS are entitled to reasonable attomeys’ fees and costs in
filing this action California Civil Code §52, as prayed befow.
THIRD CAUSE OF ACTION
For a Viofation of the California Public Accommodations Law
California Civil Code §54 et. seq.
(by All Plaintiffs and Agaiust AH Defendauts)
The PLA[NTIFF CLASSES re-allege and incorporate by reference, as though fully set forth
herein, paragraphs l through 55 of this Complaint.
The DEFENDANTS operate theme parks which are public accommodations open to the
public in Califomia and Florida.
'i'hrough the acts and omissions described herein above, DBFENDANTS are violating
Caiit`ornia Civil Code §54.
finder California Civil Code §54 (c), a violation of the ADA also constitutes a violation of
California Civii Code §54 et seq.

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76. PLAINTIFFS are persons with disabilities within the meaning of the California Civii Code
§54 (b){l) and California Govcrnment Code § 12926.

77. The DBFENDANTS provide public services withinthe meaning of the California Civil Code
§54 et seq.

78. By failing to provide accommodations and services to visually impaired guests, as set forth
at length elsewhere in this Compiaint, DEFENDANTS are violating California Civil Code
§54, by denying visually impaired guests full access to DEFENDANTS’ programs services,

and activities

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?9. As a direct and proximate result ofthe aforementioned acts, PLAINTIFFS have suffered, and

10 continue to suffer hardship and anxiety as well as deteriorating physical conditions, due to
11 DEFENDANTS’ failures to address accommodations and services required for
12 PLAINTIFFS’ disabilities

13 SO, Due to the continuous nature of DEFENDANTS’ discriminatory conduct, which is ongoing,
14 declaratory and injunctive relief are appropriate remedies Moreover, as a result of
15 DEFENDANTS’ actions, PLAINTIFFS are suffering inoperable harm, and thus immediate
16 relief is appropriate PLAINTIFFS are also entitled to reasonable attorneys’ fees and costs
iv in sting this action california civil code §55. x

18 81. DEFENDANTS and each of them are charged by law and public policy as well as their own
19 code of business responsibility to refrain nom discriminating against the PLAINTIFF
20 CLASSES on account of their physical disability As a result of the actions and conduct
21 described herein, the PLAINTIFF CLASSES have no' adequate remedy at law to redress their
22 grievances and recover their damages

23 PRAYER FOR RELIEF

24 §§ ute PLA:NTIFF cLAsses pray as follows

25 :i 1. For an injunction ordering DEFENDANTS and each of them to comply with the
26 ,:' statutes set forth herein;

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Additionally, the PLATNTIFF CLASSES requestthe following equitable, injunctive

and declaratory relief:

a.

That a judicial determination and declaration be made of the rights of the
PLAINTIFF CLASSES, and of the Court approved remedial measures that
DEFBNDANTS and each of them must take to prevent discrimination of the
visually impaired by ail employees ofDEFEN“DANTS respectively;

That DEPENDANTS and each of them be forever enjoined from continuing
to engage in the practices described in this Compiaint and from any practices
that deviate from any orders of this Court;

That this Court mandate that DEFENDANTS and each of tliern, provide
Braille signage within its theme parks in Florida and California;

That this Court mandate that DEFENDANTS and each of them, provide
pennanentBraille maps at multiple locations and portable maps in alternative
formats such as Braille and!or large print within Disney theme parks in
Fiorida and California

That this Court mandate that DEFENDANTS and each of them, provide
menus and schedules in alternative formats such as Braille and/or large print
within Disney theme parks in Florida and California;

That this Court mandate that each DBFENDANT provide reasonable
accommodations for service animals, including designated places to defecate
within Disney theme parks in Florida and California, and places where the
service animal can be tied within the park while visually impaired persons
use rides.

That this Court mandate that DEFENDANTS and each of them provide a free
or reduced fare admission ticket to one person accompanying a paid visually

impaired ticket holder to act as a guide within Disney theme parks in Fiorida

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1 and California;
2 h. ’l" hat this Court mandate that DEFBNDANTS are enjoined from maintaining
3 a policy at parades, such as the Main Street Eleotric Parade, that only
4 wheelchair users are allowed to use the area designated for handicapped
5 guests and not guests with other disabilities such as visual unpairments.
6 i. That this Court mandate that DEFENDANTS provide reasonable
7 accommodations for visually impaired quests When renting lockers. n
8 j. That this Court makeadetermination as to theiegality of the fees Defendants
9 charge visually impaired visitors at Disney theme parks in Florida and
10 Calii`omia for acconnnodations and auxiliary aids and services including:
l l kennels.
12 3 For reasonable attomeys’ fees as may be determined by the Court for all causes of
13 action
14 4 For costs of suit; and
15 5 For such other and further relief as the Court may deemjust and proper
16
17
18 Date: May §_J 2010 EUGENE FELDMAN ATTORNEY AT LAW, APC
19
20 By: {‘“a'v-'~ J~€M""‘-'~
Eugene Feidman `
21 Attorney for Plaintiffs
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24 §§
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" EUGENE FELDMAN, ESQ. SBN: 118497
Eugenc Felclman Attorney at Law, APC e-maii: gcuefeldman@mindspriog,c
555 Pier Avenue, Suite 4, Hermosa Beach, CA 90254
TELEPHQNE No.: 310 372-4`636 be B . FAX No.t 310 376-3531 H§§H` - {R L A
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CASE NAME: CARI SH]ELDS and AMBER BGGGS vs. WALT DISNEY PARKS & w
RESORTS US, ]NC., a Flortda corporation, WALT DISNEY PARKS &. RESORTS WOR
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exceeds $25,000) $25,000 or tess} (Cai. Hules cl Court, rule 3.402) DEPT: 9
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Other PIIPDIWD (23) C°"d@m"all°l'* (14) above listed provisionally complex case
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. Thls case l:l is D_§__l is not complex under rule 3.400 ot the Ca\ifotnla Rules ot Court. it the case ls oomptex, mark the
factors requiring exceptional judicial management

a. l:] l_arge number ot`separateiy represented parties cl. [:l l_arge number of witnesses

b. l::i Exlensive motion practice raising difficult or novel e. i:l Ooordlnation with related actions pending ln one or more courts
issues that will he time-oonsu ming to resolve in other oounties, statos, or oountries, or tn a federal court

o. |:l Sut)stantlai amountof documentary evidence f. |:l Substantial postjudgment_ludlclat supervision

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j NOTIGE

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uncle _ e Probate Code, Famt|y Code, or Welfare and institutions Code), (Cal. Ftules ot Cnurtx rule 3.220.} Fallure to file may result
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l Flle thj_s cover sheet in addition to any cover shoot required by local court ru[e.

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lNSTRUCTlONS ON HOW TO COMF'LETE THE COVEFt SHEET C 0 o
To Plalntllts and Otllers Flllng i-'lrst Papers. it you are filing a first paper (tor exampie, a compiaint) irl a civil case, you must
complete and lile, along with your first paper, the Clvll Case Cover Slleelcorilalned on page 1 . 'l'his information will be used to compile
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one box for the case type that best describes the oase. ii the case fits both a general and a more specilic type of case listed in item t,
check the more specific one. ll the case has multiple causes of ach'on, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type irt item t are provided below. A cover
sheet must be liled only with your initial paper. Faiiure to tile a cover sheet with the first paper nled in a civil case may subject a parly,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the Caitlomla Ftuios ct Coult.
To Parties in Ruio 3.740 Cotiectiorls Cases. A "cc|iections case" under rule 3.740 is defined as an action for recovery cl money
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which property, services, or money was acquired on credit A collections case does not include art action seeking the tollewlng: (1) tort
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attachment The identification of a case as a rule 3.740 collections case on this form means that it will be exempt horn the general
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case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Pai'ties in Complex Cases- in complex cases oniy, parties must also use the Clw'l Case Cover Sheel to designate whether the
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Shieldo v. Walt Disney Parkss & Reeort:a, Ino. et:. al.

CiV|L CASE COVE:'R SHEET ADDENDUM AND STATEMENT OF LOCAT{ON
(CERT!F|CATE OF GROUNDS FOR ASS|GNMENT '_i'O COURTHOUSE L.OCATION)

This form' rs required pursuant to i.ASC Locai Ruie 2. 0 in aii new civil case filings' m tire Los Angeies Superior Court.
item t Check the types of hearing and film the estimated length of hearing expected for this case:

 

 

 

 

 

 

 

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the left margin below, and, to the right in Coiumn A, the Civii Case Cover Sheei case type you seiecied.
Step 2: Cheok gi_i_e_ Superior Court type of action in Coiumn B below which best describes the nature of this case

Step 3: |n Co|umn C. circle the reason for the court iocation choice that appiies to the type cf action you have checked
For any exception to the court location, see i.oe Angeies Superior Court Locai Ruie 2..0.

 

 

 

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Other Personal injury/Property

 

 

 

 

 

 

 

 

 

 

 

 

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5. Location where performance required or de endant resides. 10. Locaiion of Labor Commissloner
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Shields v. ‘i~iall: Disney Parks & Reeo:i:t;s, Inc. et:. al.

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Shields v. i~lalt Disney Pa;i:'ke & Resorts, Inc:. et. al.

 

 

 

 

item iii. Statement of i_ocaticn: Enter the address of the accident, party's residence or place of business performance cr
other circumstance indicated ln ltem ||.l Slep 3 on Page 1. as the proper reason fortillrig in the court location you selected

 

` REASON: CHECK THE NUMBER UNDER COLUMN C
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crrv; srATE; zip ooDE:
Loe Angeles CA 90012

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item lV. Dec{arair'on ofAssi`gnmeni: l declare under penalty ct perjury under the laws of the State of Caiiforrila that the foregoing is
true and correct and that the above-emitted matter is properly tired for assignment to the Sr.anley brook courthouse in the
Cent;ral District of the Los Angeies Superior Couit (Code Civ. Proc., § 392 et seq.. and LASC i_ocai Rule 2.0,
subds. (b}. (c) and (d)).

Dated:iiag 14¢ 2010 C°‘Q»“""‘* &':%
{SlGNA'l’UREOt-'ATI`ORN iFii. GPARTY}

 

PLEASE HAVE THE FOLLOWING lTEMS COMPLETED AND READY TO BE FlLED IN DRDER TO
PROPERLY COMMENCE YOUR NEW COURT CASE:

 

 

 

Origlnal Cornpialnt or Peiiiion.

if filing a Compiaint, a completed Summcns form for issuance by the Cierk.

Civii Case Cover Siieet form CM-OiO.

Compiete Addendum to Civii Case Cover Sheei form i_ACiV 109 (Rev. 01107), LASC Approved 03~04.

Payrnent in full of tile filing fee, unless fees have been waived.

9>.¢":‘*‘.¢*’!‘3:"*

Signed order appointing the Guardlan ad Litem, JC form FL-935. if the plaintiff cr petitioner is a minor
under 18 years of age, or if required by Couri.

7. Addltional copies of documents to be conformed by the Clerl<. Copies of the cover sheet and this addendum
must be served along with the summons and complaintl or other initiating pleading in the case.

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EXHIBIT A PAGE 41

 

 

ErsENBF,RG RAIZMAN THURSTON & WoNG LLP

10880 Wiishirc Blvd, Eievcnt.h Floor

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Case 2:10-cv-05810-Dl\/|G-Fl\/|O Document 1 Filed 08/05/10 Page 43 of 46 Page lD #:48
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PROOF OF SERVICE BY MAIL/FAX/FEDERAL EXPRESS
I am employed in the County of Los Angeles, State of Calit`ornia. l arn over
the age of 18 and not a party to the Within action. My business address is 108 80
Wilshire Blvd., Eleventh Floor, Los Angeles, California 90024.

On August 4, 2010, I served the foregoing document, described as NOTICE
OF REMOVAL OF STA'I`E COURT ACTION UNDER 28 U.S.C. §§ 1331,
1441(b) AND 1446 BY DEFENDANTS, on each interested party in this action, as
follows:

 

 

Persons Served Parties Represented
Eugene Feldman, Esq. Plaintiffs Cari Shields and
EUGENE FELDMAN ATTORNEY AT Arnber Boggs
LAW, APC

555 Pier Avenue, Suite 4
l-Ierrnosa Beach, California 90254
A. Anderson B. Dogali, Esq. Plaintiffs Cari Shields and
Brian A. Hohman, Esq. Ainber Boggs

FORlZS & DOGALI, P.A.

4301 Anchor Plaza Parl<Way, Suite 300
Tarnpa, Florida 33634

 

 

 

 

 

>X< (BY MAIL) l placed a true copy of the foregoing document in a sealed
envelope addressed to each interested party as set forth above. I placed each such
envelope, Wii;h postage thereon fully prepaid, for collection and mailing at
EISBNBERG RAIZMAN THURsToN & WoNo LLP in Los Angeies, California. l am
readily familiar with ErssNBERo RAIZMAN THURsToN & WoNG LLP’s practice for
collection and processing of correspondence for mailing With the United States
Postal Service. Under that practice, the correspondence Would be deposited in the
United States Postal Service on that same day in the ordinary course of business

»I< (FEDERAL ONLY) l declare that l arn employed in the office of a
member of the bar of this Court at Whose direction the service Was made.

l declare under penalty of perjury that the foregoing is true and correct

Executed on August 4, 2010, at Los Angeles, California.

Mary Avila

 

 

No'rics or REMOVAL or srATs count
42 AcrroN BY DEFENDANTS

 

 

Case 2:10-cv-05810-Dl\/|G-Fl\/|O Document 1 Filed 08/05/10 Page 44 of 46 Page lD #:49

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT ’I`O UNITE}J STATES MAGISTRATE JU])GE FOR DISCOVERY

Tlu's case has been assigned to District Judge Doily Gce and the assigned discovery
Magistrate Judge is John E. McDermott.

The case number on all documents filed with the Court should read as follows

CVIO- 5810 DMG (JEMX)

Pursuant to General Order 05"0'}' of the United States District Court for the Central
District of California, thc Magistrate Judge has been designated to hear discovery related
motions

Ail discovery related motions should be noticed on the calendar ot` the Magistl'ate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ali defendants (i'f a removal action is
iiied, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following iocation:

[X] Western Divlslon [__] Southorn Division [_] Eastern Dlvislon
312 N. Spring St., Rm. G-8 411 Wost Fourth St., Rm. 1-053 3470 Tweifth St., Rm. 134
Los Angetes, CA 90012 Santa Ana, CA 927£]1-4516 Riverside, CA 92501

Faiiure to file et the proper location w|ii result in your documents being returned to you.

 

CV-‘iB (03106) NOTlCE OF ASS|GNMENT TO UNITED STATES MAG]STRATE JUDGE FOR DlSCOVERY

 

 

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UNITED ST

CaS€ 2210-CV-0581Q

I(a) PLAINTIFFS (Chcck box if you arc representing yourselfi])

CAR.l SHlELDS and AMBER BOGGS, orr behalf'of themselves and all others

similarly situated

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/¢;"M"‘Ysphone (310) 372-4636
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Cj’_,_\) Attomeys( (Firm Namc, Adcircss and Tclcphonc Number, If you arc representing

1*'_-‘E_,pgene Feidman Attomey at l_.aw, APC Eugenc Fc|dman, Esq
555 Pier Avenue, Suitc 4 Hcrinosa Beach CA 90254

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ES DISTRICT COURT, CENTRAL DISTR

ClVlL COVER SI~IEET

 

DEP`ENDANTS
WALT DISNEY PARKS AND RESORTS U.S., INC,, WALT DISNEY PAR_KS

&. RESOR'[`S WORLDW[DE, THE WAI_,T DlSNEY COMPANY, DOES 1
through 100, Inciusivc

Aitorncys (If Known)

Eiscnbcrg Raizmnn Thurston dc Wong LLP

David H. Raizman, Esq. and Elcna S. Min, Esq.
108 110 Wilshire Boulevard, 1 ith Floor, Los Angcles, CA 90024
Teicphone: (310} 445~4400

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Ci 2 U.S. Govemment Defendant

Govermnent Not a Party)

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[1 4 Divcrsiry (Inrlicate Citizenship

 

III. CITIZ»ENSI~III’ OF PRINCIPAL PARTIES - For Diversity Cases Oniy
(Place an X in one box for plaintiff and one for defendant.)

PTF DEF'

Citizen of This State

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V. REQUESTED IN COMPLAINT: .]'URY DEMAND: E| YeS E(No (Chcck ‘Yes’ only ifdcmandcd in complaintl}

CLASS ACTIoN under F.R.C.P. 23: aim i:i No

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\'I. C!tUSE OF ACTION (Cite-the U.S. Civil Statui:c under which you arc filing and write a brief statement of causc. Do not cite jurisdictional statutes unless diversity.)
Plairitiffs allege discriminatory practices in public accommodations in violation ofthc Amcricans with Disabiiitics Act (42 U,S.C. sec 12101, ct scqr)

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AFTER COMPLETING THE FRONT SIDE OF FORM CV-'il, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-”i'l (05/08)

CIVIL COVER SHEET

Pagc l of 2

 

 

 

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously flled' in this court and dismissed remanded or closed? E{No 111 Yes
If yes list case number{s):

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? E‘{No l:l Yes
lfyes, list case number(s):

 

Civi| cases are deemed related ifa prevlously filed case and the present case:
(Checl< ali boxes that apply) l:l A. Arise from the same or closely related transactions, happenings or evenl.s; or
131 B. Call for determination of the same or substantially related or similar questions of law and fact; or
l_`_l C. For other reasons would entail substantial duplication of labor if heard by different judgcs; 01'
13 D. Involve the same patent trademark or copyright, a__nj_ one ot` the factors identified above 'ln a, b or c also is present

IX. VENUE: (When completing the following information, use an additional sheet it necessary.)

(a) l_.ist the County in this Dislriet; Califomia County outside of this District; Statc if other than Califomia; or Foreign Country, in which EACH named plaintiff resides
[:1 Checl< here if the government its agencies or employees is a named plaintifi`. Ifthis box is checked go to item (b)_

Calif`ornia Cou.nty outside of this Districl; State, if other than Calit'omia' or Foreign Country

 

County' in this Districl:ll
Ambcr Boggs: Los Angeles
CariShields: Riverside

 

 

(b) l..ist the County in this District; Calit`omia County outside of this Distriet; Stale if other than Califomia; or Foreign Country, in which EACH named defendant resides
l:| Check here if the government its agencies or employees rs a named defendant Ifthis box is checked, go to item (c}.

Caiil`ornia County outside offhis District; State it`other than Calif`ornia; or Foreign Country

 

County m this District:*
Walt Disney Parks and Resorts U.S., Inc.: Orange Walt Disney Parks and Resorts U. S. ,Inc: Florida
Walt Disney Parks and Resorts Worldwide: Los Angeles The Wa[t Disney Company: Delaware
The Walt D_isney Company: Los Angeles

 

 

(e} List the County in this District; Califomia County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: 111 land condemnation cases, usc the location of the tract ol`Iand involved.
Cafit`ornia County outside of this District; Stale, if other then Calif'ornia,' or Foreign Country

Florida

 

County in this Distn`cl:*

 

Orange

 

 

 

 

* Los Angeles, Orange, San Bcrnardioo, Riversidc, Ventura, Santa Barbara, or San Luis Oblspo Counties
Note: in land condemnation casesl use the location of the tract of land involved

x. slGNA'roRs or‘ ArroRNaY (oR PRo PER): W/€M/wac/ one A“B“Sf 4, 2019

Nofice to Couusel/Parties: The CV-'il (JS»44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
01' other papers as required by law. This form, approved by the ludicial Conference of the United States in Septernber 1974, is required pursuant to l,ocal Rule 3-1 is not filed
but is used by the Clerl< of the Court for the purpose of statistics, venue and initiating the civil docket sheet (For more detailed instructions, see separate instructions sheet)

 

Key to Stafistical codes relating to Social Security Cases:

Nature ol`Sult Code Abbrcviation Substaotive Statement of Cause ofAction

86l HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, oftbe Social Sccurity Act, as amended.
Also, include claims by hospitalsl skilled nursing facilities, etc_, for certification as providers of services under the

program (42 U S.C.1935FF(b)}

862 BL All claims for “Black Lung” benefits under Title 4,Pa1t B, of the Federal Coal Mine Health and Safety Aet of l 969.
{30 U. S. C. 923)

363 DIWC All claims liled by insured workers for disability insurance benefits under Title 2 ofthe Social Secun'ty Act, as
amended; plus all claims filed for child’s insurance benefits based on disabilityl (42 U.S.C. 405(g))

863 DEWW All claims filed for widows or widowers insurance beneEts based on disability under Title 2 ofthe Social Security
Act, as amendcd. (42 U.S.C. 405(g))

864 SSID . All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Acl, as amended

865 RSI AIl claims for retirement (old age) and survivors benefits under 'l`itle 2 of the Soclal Security Act, as amcnded. (42
U.S-C' (e))

 

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